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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                Case No. 21-80929-Civ-Matthewman


 TERRY TANNENBAUM,

        Plaintiff,

 vs.

 CALIBER HOME LOANS, INC.,

       Defendant.
 __________________________________/

                 ORDER GRANTING MOTION TO TEMPORARILY STAY
                           PENDING MATTER [DE 32]

        THIS CAUSE is before the Court upon Defendant’s Motion to Temporarily Stay Pending

 Matter (“Motion”). [DE 32]. Plaintiff responded [DE 36], and Defendant replied [DE 37]. Being

 fully advised, the Court ORDERS as follows.

        Plaintiff alleges Defendant violated 15 U.S.C. § 1692c(b) of the Fair Debt Collection

 Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”), which prohibits debt collectors from

 communicating, in connection with the collection of any debt, with any person other than the

 consumer, except with the consumer’s prior consent or when other exceptions outlined in the

 statute apply. Plaintiff alleges Caliber violated this provision by utilizing an outside print-and-mail

 vendor to send correspondence on Caliber’s behalf. This suit, like many others, was filed shortly

 after the Eleventh Circuit Court of Appeals issued its ruling in Hunstein v. Preferred Collection &

 Mgmt. Servs., Inc., 994 F.3d 1341 (11th Cir. 2021), in which the Eleventh Circuit held as a matter

 of first impression that a complaint sufficiently alleged a debt collector’s electronic disclosure of

 the borrower’s personal information, such as the identity and medical history of the borrower’s
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 child and his outstanding balance, with its third-party dunning vendor violated 15 U.S.C.

 § 1692c(b).

         Defendant now moves to temporarily stay this case, arguing that the Plaintiff’s claims

 depend entirely upon the ruling in Hunstein, where there is a pending motion for rehearing en banc.

 Plaintiff opposes the stay, arguing that Defendant’s Motion is premature until the Eleventh Circuit

 rules on the motion for rehearing en banc.

         It appears likely to the Court that the Eleventh Circuit will grant rehearing because the

 ruling in Hunstein has been called into question by the Supreme Court’s recent decision in

 TransUnion v. Ramirez, 141 S. Ct. 2190 (2021). See In re FDCPA Mailing Vendor Cases, CV 21-

 2312, 2021 WL 3160794, at *5 (E.D.N.Y. July 23, 2021) (“[T]he Supreme Court’s decision in

 TransUnion casts significant doubt on the continued viability of Hunstein.”). In fact, courts have

 already begun dismissing similar class action claims under the FDCPA founded on

 communications to a print-and-mail vendor, due to lack of standing based upon footnote 6 of the

 TransUnion decision. Id. If rehearing is in fact granted, the Eleventh Circuit’s decision on

 rehearing will assuredly impact this case and others like it.

         In the interest of judicial economy and uniformity, the Court thus finds the best course of

 action here is to stay this case pending a final decision by the Eleventh Circuit in Hunstein. A stay

 also benefits both parties as it will promote the conservation of costs and resources. This is

 particularly true here, where the case is in its early stages, the previously issued pre-trial schedule

 [DE 18] has been terminated upon the parties’ consent to the exercise of jurisdiction by the

 undersigned over all further proceedings in this case [DE 25], and the parties do not have a pre-

 trial schedule or trial date at this time.

         Based on the foregoing, the Court ORDERS AND ADJUDGES that
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        1.     Defendant’s Motion to Temporarily Stay Pending Matter [DE 32] is GRANTED

               and this case shall be STAYED pending the final decision in Hunstein.

        2.     The parties shall file an appropriate notice with this Court within five (5) days of

               the final decision in Hunstein. If there is no final decision by November 24, 2021,

               the parties shall file a Joint Notice advising the Court of the status of the Hunstein

               appeal so that this Court can determine whether the stay should remain in effect.

        3.     This case shall be ADMINISTRATIVELY CLOSED, and all pending motions

               DENIED AS MOOT WITHOUT PREJUDICE.

        DONE and ORDERED in Chambers this 24th day of August, 2021, at West Palm Beach,

 Palm Beach County in the Southern District of Florida.




                                                             WILLIAM MATTHEWMAN
                                                             United States Magistrate Judge




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